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                           United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 PAUL SULLIVAN




                                             CO?
                                             (0?
 v.                                                  CIVIL ACTION NO. 3:21-CV-0915-S-BN




                                             OR
                                             CO?
 CITY OF DALLAS, TEXAS




                                             Or
      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. Objections were filed. The District Court reviewed de novo those portions of the

proposed findings, conclusions, and recommendation to which objection was made, and reviewed

the remaining proposed findings, conclusions, and recommendation for plain error. Finding no

error, the Court ACCEPTS    the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge.

        SO ORDERED.

        SIGNED August 12, 2024.



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                                                   UNITED STATES DISTRICT JUDGE
